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11                                      UNITED STATES DISTRICT COURT
12                                 NORTHERN DISTRICT OF CALIFORNIA
13                                         SAN FRANCISCO DIVISION
14
                                                      )
15   UNITED STATES OF AMERICA,                        )   CASE NO. 21-CR-402 RS
                                                      )
16           Plaintiff,                               )   STIPULATION TO EXCLUDE TIME FROM
                                                      )   FEBRUARY 8, 2022 TO JULY 27, 2022; AND
17      v.                                            )   [PROPOSED] ORDER
                                                      )
18   HARLAN KELLY, and VICTOR MAKRAS,                 )
                                                      )
19           Defendants.                              )
                                                      )
20                                                    )
21
             The parties to the above-captioned matter jointly file this Stipulation and Proposed Order asking
22
     the Court to exclude time from February 8, 2022 through July 27, 2022 under the Speedy Trial Act. 18
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     U.S.C. § 3161(h)(7)(A), (B)(iv).
24
             The parties have met and conferred, and the government and counsel for the defendants agree
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     that time be excluded under the Speedy Trial Act so that defense counsel can continue to prepare,
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     including by reviewing discovery produced by the government. For this reason, the parties stipulate and
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     agree that excluding time until July 27, 2022 will allow for the effective preparation of counsel. See 18
28
     STIPULATION AND PROPOSED ORDER                   1
     No. 21-CR-402 RS
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               Case 3:21-cr-00402-RS Document 54 Filed 02/10/22 Page 2 of 3




 1 U.S.C. § 3161(h)(7)(B)(iv). The parties further stipulate and agree that the ends of justice served by

 2 excluding the time from February 8, 2022 through July 27, 2022 from computation under the Speedy

 3 Trial Act outweigh the best interests of the public and the defendants in a speedy trial. 18 U.S.C. §

 4 3161(h)(7)(A), (B)(iv).

 5          The undersigned Assistant United States Attorneys certify that they have obtained approval from

 6 counsel for the defendants to file this stipulation and proposed order.

 7

 8          IT IS SO STIPULATED.

 9
     DATED: February 10, 2022                            /s/ David J. Ward
10                                                       DAVID WARD
                                                         ROBIN HARRIS
11                                                       THOMAS NEWMAN
                                                         Assistant United States Attorneys
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13
     DATED: February 10, 2022                            /s/ w/ Permission
14                                                       JOHN KEKER
                                                         JAN LITTLE
15                                                       Attorneys for Defendant MAKRAS
16                                                       /s/ w/ Permission
                                                         BRIAN GETZ
17                                                       Attorney for Defendant KELLY
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     STIPULATION AND PROPOSED ORDER                  2
     No. 21-CR-402 RS
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                Case 3:21-cr-00402-RS Document 54 Filed 02/10/22 Page 3 of 3




 1
                                             [PROPOSED] ORDER
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            Based upon the facts set forth in the stipulation of the parties, and for good cause shown, the
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     Court hereby finds that failing to exclude the time from February 8, 2022 through July 27, 2022 would
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     unreasonably deny defense counsel and the defendants the reasonable time necessary for effective
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     preparation, taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv). The
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     Court further finds that the ends of justice served by excluding the time from February 8, 2022 to July
 7
     27, 2022 from computation under the Speedy Trial Act outweigh the best interests of the public and the
 8
     defendants in a speedy trial.
 9
            Therefore, and with the consent of the parties, IT IS HEREBY ORDERED that the time from
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     February 8, 2022 to July 27, 2022 shall be excluded from computation under the Speedy Trial Act. 18
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     U.S.C. § 3161(h)(7)(A), (B)(iv).
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13
            IT IS SO ORDERED.
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15 DATED: ________________                                       ___________________________
                                                                 HON. RICHARD SEEBORG
16                                                               United States Chief District Judge
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     STIPULATION AND PROPOSED ORDER                  3
     No. 21-CR-402 RS
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